
548 N.W.2d 668 (1996)
216 Mich. App. 104
INTERNATIONAL PLACE APARTMENTSIV, Petitioner-Appellee,
v.
YPSILANTI TOWNSHIP, Respondent-Appellant.
Docket No. 164423.
Court of Appeals of Michigan.
Submitted December 19, 1995, at Detroit.
Decided March 29, 1996, at 9:05 a.m.
Released for Publication June 11, 1996.
*669 Honigman Miller Schwartz &amp; Cohn by Jerome M. Salle and Gerard Mantese, Detroit, for petitioner.
Miller, Canfield, Paddock &amp; Stone by Robert F. Rhoades and Joanne B. Faycurry, Detroit, for respondent.
Before MARK J. CAVANAGH, P.J., and SAWYER and R.L. TEMPLIN,[*] JJ.
SAWYER, Judge.
Respondent appeals from a judgment of the Tax Tribunal in favor of petitioner concerning a dispute over the 1988 assessed value of petitioner's property. We affirm.
The facts in this case are undisputed. Petitioner's apartment complex consisted of five buildings, numbered 18 through 22, containing 199 rental units. On December 31, 1986, respondent evaluated this complex and notified petitioner that the proposed assessed value was $388,900. This determination was acceptable to petitioner.
On March 15, 1988, respondent sent a letter to petitioner's manager, Mario Cardinali, which confirmed the amount of $388,900 as the final 1987 assessment and notified him of the proposed 1988 assessment of $480,340. Again, this determination was acceptable to petitioner.
On September 19, 1989, respondent sent a letter to petitioner indicating a proposal to change the 1988 assessment to $1,337,000. The letter explained that respondent's assessment office had made a clerical error that had resulted in the underassessment of petitioner's property. On December 5, 1989, the Ypsilanti Township Board of Review notified petitioner that it had changed the assessment in accordance with respondent's request.
Respondent's deputy assessor, Denise Mays, explained that respondent conducted annual field inspections regarding building permits. Respondent kept, a file for active building permits. When making a property appraisal, an assessor would pull the building permit from this file. After reviewing the construction, the assessor would post the appraised value and enter it into respondent's computer. If construction of a building was complete, the building permit was filed elsewhere or discarded. If construction was not yet complete, the assessor would write the percentage of construction completed on the permit and return the permit to the active file.
Clair Simons, an assessor no longer working for respondent, conducted the field inspection of petitioner's property in December 1986. At that time, construction was not complete on petitioner's apartment buildings, so the building permit should have been filed in the active building permit file. Instead, the permit was filed in the field card file, where it should have gone only if construction was complete.
Construction was completed in March 1987, but respondent was unaware that a new field inspection was required because the building permit was no longer in the active file. The added value of the completed construction, therefore, was not included in respondent's original determination of the property's value as of December 31, 1987, which was used for the 1988 assessment. Instead, respondent simply applied a five percent increase, as it did for all properties for which construction was completed. Had the permit been in the correct file, Mays testified, respondent would have been on notice that a field inspection and a new assessment were required.
Sam Guich took over as respondent's chief assessor in August 1988, and immediately began reappraising commercial property. Petitioner's property was assessed at $2,085,000 for 1989. Guich and Mays noticed the large difference between the 1988 and 1989 values and sought to determine the reason. In November or December of 1988, they discovered the building permits in the field card file and in July or August of 1989 found a letter from Simons to Cardinali in an inactive file for township apartment properties. That letter, dated February 5, 1987, indicated that all of buildings twenty and twenty-one and forty percent of building twenty-two *670 were included in the assessment for 1987. According to Guich, buildings eighteen and nineteen were not constructed until late 1986 or early 1987, and Simons therefore did not include them. Guich decided that the filing error that resulted in petitioner's underassessment was clerical and, therefore, correctable under § 53b of the General Property Tax Act, M.C.L. § 211.53b; M.S.A. § 7.97(2). However, the Tax Tribunal concluded that the error was not a clerical one, but one of professional judgment, and, therefore, the board of review was not empowered to change the 1988 assessment under § 53b.
Respondent first argues that the Tax Tribunal erred in concluding that the misfiling that caused the wrong assessment figure was not a clerical error correctable under § 53b. We disagree. Subsection 1 of § 53b provides in pertinent part as follows:
If there has been a clerical error or a mutual mistake of fact relative to the correct assessment figures, the rate of taxation, or the mathematical computation relating to the assessing of taxes, the error or mutual mistake shall be verified by the local assessing officer, and approved by the board of review.... If the error or mutual mistake results in an overpayment or underpayment, the rebate shall be made to the taxpayer or the taxpayer shall be notified and payment made within 30 days of the notice. A correction under this subsection may be made in the year in which the error was made or in the following year only. [M.C.L. § 211.53b(1); M.S.A. § 7.97(2)(1).]
The parties refer to various cases from other jurisdictions and attempt to provide a definition for "clerical error." However, we agree with the tribunal that these cases are not helpful because they deal with different statutes and facts than those found in the instant case and, we would also note, the decisions reached disparate results. Similarly, respondent's reliance on Spoon-Shacket Co., Inc v. Oakland Cty, 356 Mich. 151, 97 N.W.2d 25 (1959), is misplaced because that case was not decided under the statute at issue here, but under common-law equity principles. In fact, the current statute was added by 1967 P.A. 142.
Where the Legislature does not define a word, the ordinary meaning of the word applies and reference to a dictionary is appropriate to ascertain what the ordinary meaning of the word is. Popma v. Auto Club Ins. Ass'n, 446 Mich. 460, 469-470, 521 N.W.2d 831 (1994). Black's Law Dictionary (6th ed.), p 252, defines "clerical error" as generally "a mistake in writing or copying." See also Webster's Third New International Dictionary, Unabridged Edition (1966) p 421; Webster's New Twentieth Century Dictionary, Unabridged Edition (1983), p 338. Furthermore, reading the statute in context, the reference to a clerical error or mutual mistake is directly referenced to use of the correct assessment figures, the taxation rate, and the mathematical computation relating to the assessment of taxes. M.C.L. § 211.53b; M.S.A.§ 7.97(2). Thus, the statute itself refers to errors of a typographical, transpositional, or mathematical nature.
The mistake in the case at bar was not limited to merely recording a number incorrectly on the assessment rolls or performing a mathematical error in arriving at the final assessment figure. Rather, the figure recorded on the assessment rolls was accurate in the sense that it was the number intended by the assessor, albeit that the assessor may well have erred in the determination of what that number should be by failing to consider all relevant facts. In short, we agree with the Tax Tribunal that § 53b allows for corrections of clerical errors of a typographical or transpositional nature, but does not permit a reappraisal or reevaluation through the use of new or existing data of any type. That is, § 53b simply does not include cases where the assessor fails to consider all relevant data, even if the root of the assessor's error may have been a ministerial mistake such as the misfiling of a document.
Respondent also argues that the tribunal erred because petitioner bore the burden of proving the invalidity of the second assessment, yet offered no evidence to show that the assessment was unauthorized. Assuming, without deciding, that petitioner did bear the burden of establishing that the correction of the assessment figure was unauthorized, *671 we are satisfied that petitioner has borne that burden. The facts not being in dispute with regard to how the mistake arose, it is simply a matter of statutory interpretation whether that mistake is correctable under the statute. We have concluded that it is not.
Affirmed. Petitioner may tax costs.
NOTES
[*]  Robert Lewis Templin, Jr., 6th Judicial Circuit Judge, sitting on Court of Appeals by assignment pursuant to Const. 1963, Art. 6, Sec. 23, as amended 1968.

